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in .,13:33

UN|TED STATES OF ANIER[CA

 

-v- 2:04CR20149-01-|Vl|

JAY T. L|NER
Nlark McDanie|. Retained
Defense Attorney
243 Exchange Avenue
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
` (For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on July 02, 2004. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & section Mng offense Number(sj
Concluded
18 U.S.C. §§ 922(]) and Possession of a Stolen Firearm 09/30/2003 1

924(3)(2)

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
finesr restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 09/06/1950 l\/lay 6, 2005
Deft’s U.S. l\/larshal No.: 19562-076

Defendant's l\/lailing Address:
745 Roe Hampton Court
Collierville, TN 38017

l ij
_ 61
JON PH|PPS MCCALLA
NlTE STATES DlSTRiCT JUDGE
l\/lay fO , 2005

This document entered on the docket sheet in compliance

with Ru|e 55 and/or 32(b) FHCrP on 511 g -'O`§ 21

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PROBAT|ON

The defendant is hereby placed on probation for a term of 3 Vears.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, or destructive device. The
defendant shall also comply with the standard conditions that have been adopted by this
court (set forth below). lfthis judgment imposes a fine or a restitution obligation, it shall be
a condition of probation that the defendant pay any such file or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regulariy at a lawful occupation unless excused by the probation officer for
schoolingl trainingl or other acceptable reasons; -

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic brother controlled substance, or any paraphernalia related to such
substancesl except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine ora restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Pena|ties sheet of this judgment

ADD|TIONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:
1. The defendant shall seek and maintain full-time employmentl

2. The defendant shall perform 600 hours of community service in some sort of menton`ng or
counseling program.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Tota| Restitution
$100.00 $3,000.00

The Special Assessment shall be due immediateiy.
F|NE
A Fine in the amount of $ 3,000.00 is imposed.
RESTITUT|ON

No Restitution was ordered.

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Case No: 2:O4CR20149-01-Nll Defendant Name: Jay T. L|NER Page 4 of4

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay fine in regular monthly installments of not less than 5% of
gross monthly income

Unless the court has expressly ordered othenivise in the special instructions above, if thisjudgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed

 

 

UNITED sTATE ISTRIC COURT - WTERN DSRTCT oFTENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:04-CR-20149 Was distributed by faX, mail, or direct printing on
May ]9, 2005 to the parties listed.

 

Mark S. McDaniel

LAW OFFICE OF MARK S.
243 EXchange Avenue
Memphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

MCDANIEL

